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                       IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA


 FREDERICKA NELLON,

                        Plaintiff,                         Lead Case No. 2:21-cv-01745-AJS

        v.

 NUTTZO LLC

                        Defendant.


 CHRISTELLA GARCIA and KAREN CLARK,

                        Plaintiffs,                        Member Case No. 1:21-cv-00332-AJS

        v.

 AUDIX CORPORATION

                        Defendant.



                      STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the parties hereby agree

and stipulate that this action shall be dismissed with prejudice.


Respectfully submitted,

NYE, STIRLING, HALE & MILLER, LLP                     DENTONS COHEN & GRIGSBY P.C.

By: /s/Benjamin J. Sweet                              By: /s/ Lucy E. Hill
Benjamin J. Sweet                                     Lucy E. Hill (Pa. I.D. 323731)
ben@nshmlaw.com                                       lucy.hill@dentons.com
145 Bower Hill Road, Suite 104
Pittsburgh, Pennsylvania 15243                        625 Liberty Avenue – 5th Floor
Phone: (412) 857-5350                                 Pittsburgh, PA 15222-3152
Counsel for Plaintiffs                                Ph: (412) 297-4900 / Fax: (412) 209-0672
                                                      Counsel for Defendants, Audix, LLC
Dated: August 11, 2022                                (formerly Audix Corporation) and Vitec
                                                      Imaging Distribution, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Stipulation of Dismissal with

Prejudice was filed electronically on August 11, 2022. Notice of this filing will be sent to the

parties by operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s system.




                                                      /s/ Lucy E. Hill
